        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 1 of 13




                                   STATEMENT OF FACTS

        Your affiant is a Special Agent of the Federal Bureau of Investigation (FBI), and has been
so employed since May 2006. As a Special Agent, I have investigated and supervised
investigations of violations of federal statutes, including but not limited to counterintelligence,
public corruption, bribery, false statements, computer intrusion, kidnapping, terrorism, and other
national security matters. I currently am assigned to Squad CR-15 of the FBI’s Washington Field
Office, Northern Virginia Resident Agency, and I am tasked with investigating public corruption
investigations, including foreign influence and obstruction of justice. In the course of my duties,
I have conducted and participated in numerous investigations. Among other things, I have
participated in and supervised the execution of arrest and search warrants, including warrants
authorizing the search and seizure of electronic evidence maintained by internet and e-mail service
providers. As a Special Agent with the FBI, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
         Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 2 of 13




Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

    Beginning on or about January 8, 2021, the FBI received at least two tips identifying
BRUNO JOSEPH CUA (“CUA”) as a participant in the January 6, 2021 riot at the U.S. Capitol.

        COMPLAINANT #1 (“C1”), a sworn Law Enforcement Officer (“LEO”), reported CUA
to the FBI on or about January 11, 2021. C1 identified CUA in a photograph from a Washington,
D.C. Metropolitan Police Department (“MPD”) presentation titled, “PERSONS OF INTEREST
IN UNREST-RELATED OFFENSES.” C1 has had direct interactions with CUA, including in-
person, through C1’s official duties as an LEO in the jurisdiction where CUA lives in Milton,
Georgia.

         After a follow-up telephone interview with an FBI Agent on January 15, 2021, C1 provided
a total of five screenshots/photographs to the FBI, including screenshots of the MPD presentation,
and screenshots from CUA’s Instagram account, @bruno_cua1776.

       C1 identified CUA facing away from the camera, wearing jeans and a dark sweatshirt,
holding a jean jacket with tan lining in his left hand, and wearing a red baseball hat with the number
“45” on the right side of it in the two screenshots of the MPD presentation. C1 also identified CUA
wearing the same clothing—including the red hat with number “45” and the jean jacket with tan
lining—in screenshots of two other undated Instagram posts from CUA’s Instagram account. 1
CUA also appears to be similar height and build as the subject in MPD’s presentation, and has the
same hair color. CUA’s jean jacket appears to be inside out in the two MPD presentation
screenshots.

       In the screenshot of an Instagram story from CUA’s Instagram account, CUA stated he
“stormed” the Capitol and, along with unidentified others, “physically fought our way in.” The
screenshot was captured at 5:33 PM on January 6, 2021. FBI Agents reviewed the screenshot and
1
  In the Instagram photos provided by C1, CUA is wearing a dark sweatshirt with a logo on the back of the
shirt that appears to be a red, white and blue flag over an eagle. In the MPD presentation and video from
The New Yorker from the Senate Chamber on January 6, 2021, CUA is in a similar dark sweatshirt, but
with the eagle logo on the front of the sweatshirt. FBI Agents reviewed and compared the screenshots,
images, and videos of CUA wearing a sweatshirt. Based on the similarities of the sweatshirt colors and the
sweatshirt logos seen separately on the front and back, FBI Agents believe that the sweatshirt is reversible
or CUA wears at least two versions of the same sweatshirt; one with the logo on the front and one with the
logo on the back. In some instances, the sweatshirt CUA is seen wearing looks brown; in other instances,
the sweatshirt looks grey. Additionally, in some instances, the sweatshirt logo is on the front and in other
instances the same logo is on the back.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 3 of 13




determined CUA posted the Instagram story at approximately 5:13 PM on January 6, 2021, based
on an Instagram timestamp of “20m” meaning that the story was posted twenty minutes earlier.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 4 of 13




        On January 17, 2021, The New Yorker published a video titled, “A Reporter’s Video from
Inside the Capitol Siege”. The video documents individuals as they fought their way inside the
U.S. Capitol on January 6, 2021, and shows those who made it all the way to the Senate floor.

        The video shows CUA in the Senate Gallery at a video timestamp of approximately 4:21.
At a timestamp of approximately 4:27, CUA is seen in front of a marble wall wearing the dark
sweatshirt red hat and holding the same jean jacket from screenshots provided by C1. CUA is also
holding a cellular phone and appears to be actively filming. At a timestamp of approximately 4:32,
CUA is seen facing the camera, wearing the dark sweatshirt, holding the same jean jacket in his
left hand, a cellular phone in his right hand, while wearing grey gloves.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 5 of 13




       In the same video at a timestamp of approximately 4:44, CUA is heard off camera stating,
“They can steal an election, but we can’t sit in their chairs?” In an in-person interview with FBI
Agents on January 20, 2021, C1 identified CUA speaking in the video at the same timestamp.




        Shortly thereafter, in the same video at a timestamp of approximately 4:45, the camera pans
to CUA standing in the back of the Senate Chamber. CUA is seen with his cellular phone in his
right hand, the inside-out jean jacket in his left hand, wearing the red hat, and the dark sweatshirt.
At this point in the video, the logo of an American flag in the shape of what appears to be an eagle
is visible on CUA’s sweatshirt.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 6 of 13




        On January 20, 2021, FBI Agents conducted an in-person interview of C1. FBI Agents also
interviewed WITNESS #1 (“W1”) and WITNESS #2 (“W2”), both of whom are sworn LEOs. W1
and W2 positively identified CUA based on their direct and indirect interactions with CUA through
their official duties as LEOs in the jurisdiction where CUA lives in Milton, Georgia.

       C1, W1, and W2 each reviewed the video from The New Yorker after its release on January
17, 2021. C1, W1, and W2 each independently identified CUA as speaking in the video at the same
approximate timestamp of 4:44. W1 corroborated the identification of CUA in screenshots of CUA
provided by C1. W2 also corroborated the identification of CUA in the same screenshots.

        In a separate video captured by U.S. Capitol Police (“USCP”) closed circuit television
(“CCTV”) cameras of the events of January 6, 2021, CUA is seen outside the Senate Gallery near
S309 at a video timestamp of approximately 0:04. CUA is seen wearing jeans, with the same
previously identified jean jacket, dark sweatshirt, and red hat, while holding what appears to be a
baton in his right hand and a cellular phone in his left hand.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 7 of 13




        In the same video at an approximate timestamp of 0:16, CUA is seen outside the Senate
Chamber doors, in a physical altercation with USCP plain clothes officers, still holding a baton in
his hand. Specifically, CUA can be seen shoving USCP Officer G.L. (“G.L.”) in front of the door
to the Senate Chambers. CUA is then seen entering the Senate Chambers through the open door at
an approximate timestamp of 0:27.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 8 of 13




         On January 14, 2021, an FBI Agent interviewed G.L. via telephone. On January 6, 2021,
G.L., a plain clothes officer with the USCP, was posted at the Senate Chambers with two other
USCP officers. All three officers were dressed in suits. G.L. and the two other officers went to the
third floor to attempt to lock the doors to the Senate Chambers. While attempting to secure the
third floor a large group of people started coming down the hall. A number of individuals attempted
to gain access to the room that the officers were trying to secure. Shoving ensued between the
officers and at least one of the individuals in the group. G.L. did not recall what any of the
individuals looked like or what they were wearing. Video footage from USCP confirms that CUA
is one of the rioters who shoved G.L.
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 9 of 13




        In another USCP CCTV video from the East Corridor near S306, CUA is seen walking
down the cooridor wearing the same jean jacket, grey gloves, dark sweatshirt, and red hat. CUA
is seen carrying what appears to be a baton in his right hand and a cellular phone in his left hand.




        During the same video, CUA is seen attempting to open a brown door at an approximate
timestamp of 0:19. As he continues down the cooridor, CUA is observed wearing the same
previously identified attire, including the dark sweatshirt with logo, while twirling a baton in his
right hand.
       Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 10 of 13




        On January 21, 2021, C1 provided the FBI with a photograph taken from a law enforcement
encounter between a local law enforcement department and CUA on January 3, 2021, in the
jurisdiction where CUA lives in Milton, Georgia. In the photograph, CUA is seen wearing the
same jean jacket and grey gloves that he wears in The New Yorker video and in USCP CCTV
videos.




        On or about January 8, 2021, the FBI received a tip identifying CUA’s Parler account,
@PatriotBruno with display name Brunocua, along with posts from CUA’s account. In some of
the posts, CUA referenced plans to travel to Washington, D.C. on January 6, 2021. In other posts,
CUA stated, “President Trump is calling us to FIGHT!” and “This isn’t a joke, this is where and
when we make our stand. #January6th, Washington DC.” The tip also stated CUA “actively
encouraged the events on the sixth for 11 days leading up to the domestic terrorist attack.”
       Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 11 of 13




        Based on the foregoing, your affiant submits there is probable cause to believe that CUA
violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede,
        Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 12 of 13




intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as an officer or employee
of the United States while engaged in or on account of the performance of official duties.

        Your affiant submits there is also probable cause to believe that CUA violated 18 U.S.C. §
231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       Your affiant submits there is also probable cause to believe that CUA violated 18 U.S.C. §
1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.

         Your affiant submits that there is also probable cause to believe that CUA violated 18
U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engages in any act of physical violence against
any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

        Finally, your affiant submits there is also probable cause to believe that CUA violated 40
U.S.C. § 5104(e)(2)(A), (B), (C), (D), (F), and (G), which makes it a crime to willfully and
knowingly (A) enter or remain on the floor of either House of Congress or in any cloakroom or
lobby adjacent to that floor, in the Rayburn Room of the House of Representatives, or in the Marble
Room of the Senate, unless authorized to do so pursuant to rules adopted, or an authorization given,
by that House; (B) enter or remain in the of either House of Congress in violation of rules
governing admission to the gallery adopted by that House or pursuant to an authorization given by
that House; (C) with the intent to disrupt the orderly conduct of official business, enter or remain
in a room in any of the Capitol Buildings set aside or designated for the use of— (i) either House
of Congress or a Member, committee, officer, or employee of Congress, or either House of
Congress; or (ii) the Library of Congress; (D) utter loud, threatening, or abusive language, or
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
       Case 1:21-mj-00187-ZMF Document 1-1 Filed 01/29/21 Page 13 of 13




deliberations of, a committee of Congress or either House of Congress; (F) engage in an act of
physical violence in the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or
picket in any of the Capitol Buildings.




                                             _________________________________
                                             SPECIAL AGENT DANIEL A. MEHOCHKO
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29TH day of January 2021.




                                             ___________________________________
                                             ZIA M. FARUQUI
                                             U.S. MAGISTRATE JUDGE
